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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                                             )                Case No: 4:12CR3059-3
                 Plaintiff,                  )
          V.                                 )                         ORDER
                                             )
HOA VAN HUYNH,                               )
                                             )
                 Defendant.


     The court has been presented a Financial Affidavit (CJA Form 23) signed by the
    above-named defendant in support of a request for appointed counsel. After a
    review of the Financial Affidavit, I find that the above-named defendant is eligible
    for appointment of counsel pursuant to the Criminal Justice Act, 18 U.S.C.
    §3006A, and Amended Criminal Justice Act Plan for the District of Nebraska.

     IT IS ORDERED that Thomas Lamb is appointed as attorney of record for the
    above-named defendant in this matter and shall forthwith file an appearance in
    this matter.

      IT IS FURTHER ORDERED that the Federal Public Defender's Office shall
    forthwith provide counsel with a draft appointment order (CJA Form 20) bearing
    the name and other identifying information of the CJA Panel attorney identified in
    accordance with the Criminal Justice Act Plan for this district.

      IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to
    the Federal Public Defender for the District of Nebraska and Thomas Lamb.

     DATED this 1st day of June, 2012.

                                           BY THE COURT:

                                           S/ Cheryl R. Zwart
                                           United States Magistrate Judge
